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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )       Case No. 1:21-CR-350-PLF
                                             )
ANTIONNE DE SHAUN BRODNAX                    )
                   Defendant                 )


                                  JOINT STATUS REPORT
       COMES NOW the Defendant, Antionne De Shaun Brodnax, by and through counsel,

Mary E. Maguire and with agreement of the government by and through counsel, Michael

Liebman, and files the Joint Status Report pursuant to this Court’s order. (ECF 47).

       The parties have met and conferred and have agreed that an evidentiary hearing is

required. The parties provide the following responses to the following topics:

       1. The government intends call two witnesses, FBI SA Matthew Heise and FBI SA

           Kenneth Shappee. It is anticipated that the direct and cross examination for each

           witness will be approximately forty-five minutes, for a total of one and a half hours.

           The government also plans to introduce audio-video evidence. The presentation of

           this evidence should take approximately 30 minutes.

       2. The defense does not intend to call any witnesses or offer and audio-visual evidence

           at the evidentiary hearing.

       3. The parties believe that all legal arguments on the three sentencing guideline issues

           will take approximately 30 minutes per side, for a total of one hour. The parties

           believe the statutory argument concerning whether the imposition of concurrent or




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   consecutive sentences for Mr. Brodnax’s convictions is appropriate will take

   approximately 10 minutes per side for a total of 20 minutes.

4. The parties would prefer a “hybrid” evidentiary hearing in which the Court, counsel

   and all testifying witnesses would attend in-person and Mr. Brodnax would appear

   remotely through Zoom teleconference.

5. The parties would like an opportunity to access the courtroom in advance of the

   hearing to coordinate all IT issues so that the presentation of evidence can run

   smoothly.

                                     Respectfully Submitted,

                             By:     ___/s/__________________
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